Case 1:16-cV-09109-LAP Document 19 Filed 03/22/18 Page 1 of 22

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
______________________________ X
SEEMA SHARMA, JAVED MUGHAL,
SHAIKH HAQ, GUL R. TARIQ,
ISHRAT SULTANA KHAN,

INDIRABEN PATEL,

 

 

Plantiffs, : ORDER
- against - : l6-cv~9109 (LAP)
A:RPORT MANAGEMENT
sERvICEs, LLC, d/b/a HUDsoN
Nsws, HUDsoN GROUP (HG)
RETAIL, LLC,

Defendants.
______________________________ X

LORETTA A. PRESKA, Senior United States District Court Judge:

Plaintiffs Indiraben Patel, Shaikh Hag, Javed Mughal, Seema
Sharma, Gul Tariq, and Ishrat Suitana Khan (collectively,
“Plaintiffs”) bring this suit alleging that their former
empioyer, Airport Management Servioes, LLC d/b/a Hudson News,
the Hudson News Company, Hudson Group LLC, and Hudson Group (HG)
Retail, LLC (ooliectively, “Defendants” or “Hudson News”),
engaged in various federal and state labor law violations. At
issue here are Plaintiffs’ Claims of retaliatory discharge in
violation of the Fair Lahor Standards Act (“FLSA”), 29 U.S.C.

§ 215, and New York Labor Law (“NYLL”) § 215. Defendants move
to dismiss those oiaims {collectively, “Counts IV and V”)

pursuant to Rule 12(h)(6) of the Federal Rules of Civil

Case 1:16-cV-09109-LAP Document 19 Filed 03/22/18 Page 2 of 22

Procedure. For the reasons set forth below, Defendants’ motion
to dismiss Counts IV and V of the Amended Complaint is granted
with prejudice. {ECF No. 12.)
I. Background
a. Plaintiffs' Allegations

The following facts are taken from the Amended Complaint
(“AC”) {ECF No. 6) and are accepted as true for purposes of the
instant motion.

Plaintiffs are six mostly-older employees of South Asian
descent who worked for Hudson News. (Am. Compl. I i.) Each of
the Plaintiffs worked in Hudson News’ Penn Station District,
which includes thirteen stores in Penn Station, two stores at
the 33rd Street PATH Station, and three stores at the Javits
Center, for various periods of time from as early as 1992
through 2016. (ld; II 36~41, 42-43.) Plaintiff Gul Tarig also
worked at Hudson News’ Grand Central Station District and at a
Hudson News store in the United Nations building. (ld; § 49.)

According to the AC, all Plaintiffs were sometimes referred
to as “operations managers” or “managers." ("lwd_m.m I 51.) ln this
role, Plaintiffs were classified as exempt from overtime pay.
(l§; II 56“5?.) Plaintiffs contend that in reality, however,
their managerial and supervisory duties constituted less than
five percent of their work time and that they spent most of

their work day doing tasks such as cashier work, performing

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 3 of 22

security guard functions, stocking shelves, transporting
merchandise to and from Defendants’ warehouse, and pest control.
(§§; § 55~57.) Plaintiffs claim that they worked a substantial
amount of overtime hours without compensation due to the fact
that Defendants misclassified them as exempt employees. (ld;
ii 56-57.)

Employees in manager roles have brought claims against
Hudson News for unpaid overtime in the past. (§§; at l 176}
(citing Ahmad v. Hudson News Co., OO-cv~8963 (S.D.N.Y.); Busgith

V. Hudson News Co., NO. 0015087/2©05, 2008 WL 1771788 (N.Y. Sup.

 

Ct. Apr. 8, 2008) (denying summary judgment); Khan v. Airport

 

 

Mgmt. Servs., lOecv-7T35 (S.D.N.Y.); Velasquez v. Hudson Grp.,
LLC, lO-cv-4833 (S.D.N.Y.); and Nabi v. Hudson News Co., lq"cv-
4635 {S.D.N.Y.) (the “Nabi action”)). Plaintiff pleads on

information and belief that all of these lawsuits, other than
the Nabi action, were “discretely resolved” with Defendants.

(Am. Compl. § 177.)

The Nahi action was brought by employees who worked in

 

Defendants' Grand Central Station District. (l§; l 191.)
Though the AC does not state exactly when the §abi action was
filed, Plaintiffs assert that the pendency of the §abi action
caused Defendants concern about their potential overtime
liability to Plaintiffs. (ld; § 190~94.) Plaintiffs allege

that this unease was due to the fact that the Nabi plaintiffs

3

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 4 of 22

held the same manager title as Plaintiffs here. The physical
proximity of Plaintiffs’ place of work at Penn Station to Grand
Central Station, the location at which the §§bi class members
worked, caused Defendants to worry that Plaintiffs could ~ and
would ~ learn that other managers were participating in a
lawsuit to recover unpaid overtime. (ld; § l9l.) Plaintiffs
assert that Defendants' unease heightened on August 17, 20l6,
when the §abi court granted collective action certification for
:the Grand Central Station employees. {mlmc“i“:m l l90.)

In response to this concern, Plaintiffs allege that
Defendants found ways to eliminate managers who worked at the
Penn Station District to reduce Defendants' potential liability
exposure for unpaid overtime wages. To that end, Plaintiffs
assert that Defendants offered a voluntary termination package
to certain managers who, after accepting the package, were
replaced by hourly supervisor employees. {Am. Compl. ll lOO,
179, 191~92.) The newly hired hourly employees performed the
same tasks as managers but were classified as non~exempt and
were younger than all but one of the Plaintiffs. (_lmd”.m ll lOO,
104, 108, llO, llZ, 178~79, l9ls92.} Plaintiffs allege that
Defendants hired these replacement employees to avoid having to
switch Plaintiffs to hourly supervisor status, thereby creating
a risk that Plaintiffs would question why they had not received

overtime pay in the past. (Id. ll 1?7-79, 195.)

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 5 of 22

On September l, 2016, each Plaintiff separately met with
Hudson News Senior Vice President of Operations, Doug Martino,
and two Human Resources representatives at Penn Station
District’s main office. (ld; l 74.) During these meetings,
Martino told Plaintiffs, in substance, that they were being
terminated due to “lack of business” and that their termination
was not performance-based. (ld; l ?5.) Plaintiffs contend that
the “lack of business” reason was a pretextual excuse to conceal
Defendants’ real motivation: to eliminate employees who might

sue Defendants for unpaid overtime in light of the Nabi action.

 

(ld; I 175.)
i. lndiraben Patel

In October 2015, a General Manager informed Patel that she
was being fired because a money bag had been misplaced, in spite
of Patel’s having an excellent work record. (ld; l 96.)
Patel’s then-lawyer challenged Patel's termination as
discriminatory and accused Defendants of owing her overtime
monies (the “October 20l5 Letter”). (;i_mdm.m ll 96, 190.) After
receiving the October 2015 Letter,r Defendants rehired Patel.

(ld. I 99.) Defendants then terminated Patel again in September

20l6. (ld. l 100.)

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 6 of 22

ii. Seema Sharma

in or about late 20l5, Defendants’ Regional Vice President
Edwin Soto asked Sharma to meet and speak with one of
Defendants’ lawyers. (ld; ll 177-79, 180.} Following this
reguest, Sharma went to Defendants’ main office in Penn Station
and participated in a phone conversation with Defendants’
lawyer. {l§; il lSOWBB.) Defendants' General Manager, Dan
Fordyce, was present in the office with Sharma while this call
took place. (§d;) Sharma alleges that Defendants' lawyer asked
her questions about a former Penn Station manager named Rifat
Rizvi, who was a plaintiff in the §abi case. (“Imdm_.m l 178.) ln
response to the questions from Defendants’ lawyer, Fordyce
sometimes offered his own “correct” answer to the lawyer's
question before Sharma could answer herself. (ld; l 182.)

Following this meeting, Sharma alleges that Defendants
drafted a declaration for Sharma with a line for her signature
at the bottom. (ld; l 183.) Sharma contends that she did not
agree with how her duties were described in the draft
declaration but that she “may have signed” it because she felt
she would have faced adverse consequences if she did not. (§d;
ll 184~85.) Sharma alleges that Defendants warned her not to

discuss her conversation with Defendants’ lawyer with others.

(”1_5;1“".“ il 1364

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 7 of 22

b.Claims at Issue

Count lV of the AC asserts that the prospect of Plaintiffs'
seeking redress for unpaid overtime under the FLSA was among the
“but for” causes of Defendants’ decision to terminate them and
that this constitutes actionable retaliation under the FLSA.
29 U.S.C. § 215(a)(3); (Am. Compl. ll 196-97.) Count V of the
AC alleges that Defendants engaged in preemptive retaliation in
violation of NYLL § 215. (Am. Compl. ll 2l2, 233“34, 235m36.)

On March 10, 2017, Defendants moved to dismiss these claims
pursuant to Rule lZ(b)(€). Fed. R. Civ. P. 12(b)(6).

11. Legal Standard

In considering a motion to dismiss pursuant to Rule
12(b){6) of the Federal Rules of Civil Procedure, a court must
“accept the material facts alleged in the complaint as true and
construe all reasonable inferences in the plaintiff's favor.”

Phelps v. Kapnolas, 308 F.3d l80, 184 (2d Cir. 2002) (citation

 

and internal quotation marks omitted). Though a court must
accept all factual allegations as true, it gives no effect to
“legal conclusions couched as factual allegations.” Stadnick v.

Vivint Solar, lnc., 861 F.Bd 31, 35 (2d Cir. 201?) (guoting

 

Starr v. Sony BMG Music Entm’t, 592 F.3d 314, 321 (2d Cir.
2010)). “To survive a motion to dismiss, a complaint must
contain sufficient factual matter, accepted as true, to ‘state a

claim to relief that is plausible on its face.’” Ashcroft v.

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 8 of 22

lgbal, 556 U.S. 662, 6?8 (2009) (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial
plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” lgb§l, 556
U.S. at 6?8. This “plausibility standard is not akin to a
‘probability requirement,’ but it asks for more than a sheer
possibility that a defendant has acted unlawfully.” ld;
(citations omitted). Deciding whether a complaint states a
claim upon which relief can be granted is “a context-specific
task that requires the reviewing court to draw on its judicial
experience and common sense.” Rahman v. Schriro, 22 F. Supp. 3d
305, 310 (S.D.N.Y. 2014) (quoting lgbal, 556 U.S. at 679).
lll. Discussion
a. NYLL § 215

Section 215 of the NYLL prohibits an employer from
retaliating against an employee for making a complaint about an
employer’s potential violation of “any provision of this
chapter, or because such employee has caused to be instituted a
proceeding under or related to this chapter.” Epifani“__vm.m
§ghn§gn, 882 N.Y.S.2d 234, 235 (N.Y. App. Div. 2009) (quoting
N.Y. Lab. Law § 2l5); see Hai Ming Lu v. Jing Fong Rest., lnc.,
503 F. Supp. 2d 706, 110 (S.D.N.Y. 2001) (citing Broder v.

Cablevision Sys. Corp., 4l8 F.3d 187, 200 (2d Cir. 2005))

 

Case 1:16-cV-O9109-LAP Document 19 Filed 03/22/18 Page 9 of 22

{stating that New York courts’ interpretation of NYLL is binding
on federal court analyzing state labor law claims).

Defendants argue that NYLL does not govern claims of
retaliation motivated by complaints of unpaid overtime wages
because NYLL does not govern overtime pay. (Def. Br. 6.)
Therefore, overtime compensation claims cannot be a violation of
“any provision of this chapter." Plaintiffs argue that § 215
does govern such claims based on a 20l0 amendment that expanded
NYLL § 215's protections to encompass employee complaints
regarding an employer's potential “violat[ion] [of] any
provision of this Chapter, or any order issued by the
commissioner.” N.Y. Lab. Law § 215(1)(a) (emphasis added).
Plaintiffs cite to Article 19 of the NYLL in support of their
claim that overtime pay in New York is governed by an order from
the Commission of Labor and that therefore NYLL § 215 permits
overtime"related retaliation claims. (Pl. Opp. 3.)

None of the New York Labor Law provisions that Plaintiffs
cite in support of this proposition explicitly or implicitly

regulates overtime pay in New York.l (Pl. Opp. 3 n.l.) On the

 

1 NYLL § 650, titled “Statement of Public Policy,” states a
general policy goal of establishing a minimum wage that provides
sufficient wages for a person to “provide adequate maintenance
for themselves and their families.” N.Y. Lab. Law § 650.
Plaintiff argues that NYLL § 650 “expressly contemplates the
payment of overtime to non-exempt employees.” (Pl. Opp. 3 n.l.)
Nowhere in § 650 is there an express, much less implied,
contemplation of overtime pay. NYLL § 655(b}, (continued)

9

Case 1:16-CV-O9109-LAP Document 19 Filed 03/22/18 Page 10 of 22

contrary, the N.Y. Compilation of Codes, Rules and Regulations
(“NYCRR”), a distinct statutory framework, plainly governs
overtime pay in New York. §ee N.Y. Comp. Codes R. & Regs. tit.
12, § 142~2.2 (“An employer shall pay an employee for overtime
at a wage rate of one and one-half times the employee's regular
rate in the manner and methods provided in and subject to the
exemptions of sections 7 and 13 of 29 U.S.C. § 201 et seq., the
Fair Labor Standards Act of 1938 . . . .”). The NYLL does not
incorporate NYCRR’s overtime regulations expressly or
implicitly. “The Labor Law does not contain any provisions
governing overtime compensation.” Zutrau v. lce Sys., lnc., No.
37576-09, 2013 WL 1189213, at *4 (N.Y. Sup. Ct. Mar. 20, 2013)
(citing Epifani, 882 N.Y.S.2d at 234). Accordingly, the AC

fails to state a claim of retaliation under NYLL § 215 based on

overtime compensation.

 

(continued) titled “Wage Board, Procedure, Report” also does not
regulate overtime pay but rather sets out the purpose and
function of the Wage Board in New York, which may investigate
and provide recommendations on a variety of state-based wage
issues, including overtime pay. N.Y. Lab. Law § 655[5}(b).
Finally, the Wage Orders of the Commissioner of Labor, NYLL §
652{2], that Plaintiff contends is “incorporate[ed] by
reference” into NYLL § 650 also has nothing to do with
employees' status with respect to overtime pay. Rather, it
regulates minimum wage. §ee N.Y. Lab. Law § 652[2} (titled
“Minimum Wage”).

10

Case 1:16-CV-O9109-LAP Document 19 Filed 03/22/18 Page 11 of 22

b. FLSA Claim

Defendants argue that the FLSA’s statutory framework does
not support Plaintiffsr theory of pre-emptive retaliation and
that, even assuming that it did, Plaintiffs fail to state a
colorable claim of retaliation pursuant to § 215(a)(3).

Under the FLSA, it is “unlawful for any person . . . to
discharge or in any other manner discriminate against any
employee because such employee has filed any complaint or
instituted or caused to be instituted any proceeding under [the
FLSA] . . . or has testified or is about to testify in any such
proceeding . . . ." 29 U.S.C. § 215(a)(3).

lt is well established that to make a primaM§apie case of
retaliation, a plaintiff must demonstrate “(1} participation in
protected activity known to the defendant, like the filing of a
FLSA lawsuit; (2) an employment action disadvantaging the
plaintiff; and (3} a causal connection between the protected
activity and the adverse employment action.” Dunn v. Sederakis,
143 F. Supp. 3d 102, 109 (S.D.N.Y. 2015) (quoting mullins v.
§itympfw§;§;, 626 F.Bd 47, 53 (2d Cir. 2010)).

First, Plaintiffs must plausibly demonstrate that they
participated in “protected activity.” Courts have interpreted
the term “protected activity” in the FLSA context to extend
beyond the “formal proceeding” scenario that the statute

explicitly contemplates. 29 U.S.C. § 2l5{a)(3). For example,

11

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 12 of 22

an employee’s written or oral complaint to her employer may
constitute “protected activity” insofar as the employee’s
complaint is “sufficiently clear and detailed for a reasonable
employer to understand it, in light of both content and context,
as an assertion of rights protected by the statute and a call
for their protection.” Greathouse v. JHS Sec. lnc., 784 F.3d
105, 111 (2d Cir. 2015) (quoting hasten v. Saint-Gobain
Performance Plastics Corp., 563 U.S. 1, 14 (2011) {internal
quotation marks omitted)).

Courts have also found protected activity to exist where
the “activities [are] less directly connected to formal
proceedings,” such as where an employer's conduct “has a
chilling effect on employees’ assertion of rights.” §rock v1

Casey Truck Sales, lnc., 839 F.Zd 872, 879 (2d Cir. 1988)

 

(citation omitted) (hereinafter, “Casey Truck”); see, e.g.,
Marshall v. Parking Co. of Am.-Denver, lnc., 670 F.2d 141 (lOth
Cir. 1982) (per curiam) (finding protected activity where
employer asked employee to give up his claims for unpaid
overtime in exchange for employer’s not pursuing employee for
failed lie detector test); Yu G. Ke v. Saigon Grill, lnc., 595
F. Supp. 2d 240 (S.D.N.Y. 2008) {finding existence of protected
activity where employees refused to sign document offered by
employer that waived their rights under FLSA). Though courts

have looked beyond more traditional notions of protected

12

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 13 of 22

activity in evaluating retaliation claims in some instances,
such cases in this jurisdiction all share a common and
fundamental element: the employee has taken affirmative action
in asserting her rights under the FLSA prior to the adverse
employment action. Thus, the law in this jurisdiction requires
plaintiffs to show affirmative conduct by the employee in
establishing the existence of protected activity. §ee Ochei v.
Mary Manning Walsh Nursing Home Co., No. 10 Civ. 2548 (CM), 2011
WL 744738, at *6 (S.D.N.Y. Mar. l, 2011) (“Anything less than a
formal complaint will not support a claim for retaliation.”}.
Plaintiffs cite to Casey Truck in support of their
assertion that an affirmative act by the employee is not
required to establish the existence of protected activity. ln
§a§ewaruck, the Court of Appeals cited to a Third Circuit FLSA
case that did not require an affirmative action by the employee
in finding the existence of protected activity. Casey Truck,
839 F.2d at 879 (citing Brock v. Richardson, 812 F.2d 121, 124
{3d Cir. 1987} (hereinafter, “Richardson”)). in Bi§hard§pn, the
Court of Appeals for the Third Circuit held that an employer who
retaliated against an employee based on the employer’s mistaken
belief that an employee had engaged in protected activity was

“sufficient to bring the employer's conduct within [§

215(a)(3)].” Richardson, 812 F.Zd at 124; (Pl. Opp. 5.}

13

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 14 of 22

ns a preliminary matter, the holding in Richardson is not
binding on this Court. ln Casey Truck, the Court of Appeals
cited Richardson as one example in a string of out~of-circuit
cases to show how courts have extended the FLSA’s protections
liberally in accordance with the policy interests belying the
Act. §ee Casey Truck, 839 F.2d at 879. This hardly constitutes
the Court of Appeals’ adoption of the standard employed in
Richardson. Moreover, even if the Court was bound by the
holding in Richardson, Plaintiffs’ claims would fail. ln
§ighard§gn, the employer discharged an employee who it
mistakenly believed was engaged in protected activity.
§ich§rd§pn, 812 F.2d at 124-25. As Defendants point out,
Plaintiffs do not allege any facts showing that a mistaken
belief on Defendants’ part led Plaintiffs to retaliate against
them.

Accordingly, the Court adheres to this jurisdiction’s
binding precedent: the central question in determining the
existence of protected activity is whether the employee engaged
in affirmative conduct that the employer understood as an
assertion of the employee’s rights under the FLSA. §ee Q§hei,
2011 WL 744738, at *6.

Applying these principles here, the AC does not contain any

facts indicating that Plaintiffs, other than Patel,

affirmatively asserted their rights under the FLSA regarding

14

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 15 of 22

potential overtime wage violations prior to their termination in

September 2016.

Plaintiffs proffer various facts about the Nabi action,

 

presumably in an effort to demonstrate Defendants’ mindset
leading up to their termination. As discussed, averments as to
Defendants' mindset absent other facts showing that Plaintiffs
took affirmative steps to assert their rights under the FLSA
prior to their termination is legally insufficient to show
protected activity. §f® Saigon Grill, 595 F. Supp. 2d 240
(noting that employees signing FLSA authorization cards in
preparation for filing FLSA lawsuit against employer and
employer's awareness of this fact prior to terminating employees
constitutes protected activity).

Furthermore, the §abi plaintiffs' actions cannot be imputed
to Plaintiffs here to establish affirmative conduct. Not a
single fact alleged in the AC indicates that Plaintiffs were
even aware of the §abi action prior to their termination in
September 2016, let alone that they were actively preparing to

file suit at the time Defendants terminated them.2

 

2 The AC makes allegations regarding Plaintiffs' knowledge of the
Nabi suit only as to Sharma. (Am. Compl. 11 180-90.) To that
end, the AC is devoid of facts that show Sharma knew that Rizvi
was a plaintiff in the Nabi action at the time of her interview
with Defendants’ lawyer. (ld;) lt also does not allege that
Sharma knew that interview was related to the Nabi action.

{ld;} ln sum, the AC does not plead any facts indicating that
Sharma knew about the Nabi action prior to her (continued)

 

15

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 16 of 22

Plaintiffs cite Munguia v. Bhuiyan, CV 2011 3581(JBW), 2012

 

WL 526541 (E.D.N.Y. Feb. 16, 2012), to argue that the filing of
a formal complaint is not necessary for a plaintiff to plead a
plausible claim of retaliation. ln Munguia, the court held that
an employee’s request for tax documents constituted protected
activity because the employer knew that the employee was
requesting the documents to make a formal complaint. lg; at *3.
Here, Plaintiffs do not assert that they requested documents or
engaged in any affirmative conduct with regards to the §abi
action that, even absent words, would have signaled to
Defendants that they were planning to make a formal complaint or
institute a formal proceeding prior to their termination. §ee
id; at *2~3.

As to Defendants’ lawyer’s interview of Sharma, Plaintiffs
presumably plead facts about this to show Defendants' mindset.
{Am. Compl. ll l80m8l.) As discussed, this is not the relevant
standard in evaluating whether Sharma plausibly engaged in
protected activity. §ee Qphei, 2011 WL T44738, at *6 (“Anything

less than a formal complaint will not support a claim for

 

(continued) termination in September 2016. At best, the AC
pleads that Sharma had “already learned” of the Nabi action by
August 201?. (ld; ll 193~94.) But the AC does not indicate how
Sharma would have “learned” of the Nabi action outside of her
interview with Defendants’ lawyer, and there are no facts in the
AC alleging that Sharma did in fact learn of the Nabi suit
during the interview. (ld;)

16

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 17 of 22

retaliation”). Furthermore, the allegations pertaining to
Sharma’s meeting do not demonstrate that Sharma engaged in
protected activity, even if the environment of the meeting was
uncomfortable or intimidating. The facts alleged regarding
Sharma's handling of the draft declaration do not indicate that
she affirmatively complained about its contents to Defendants in
a “sufficiently clear and detailed” way such that Defendants

would have understood Sharma as “assert[ing] rights protected by

the statute and a call for their protection.” Greathouse, 784
F.3d at 111; (Am. Compl. ll 186~88.) General Manager Fordyce’s

instruction to Sharma to keep their conversation with
Defendants' lawyer confidential, which Plaintiffs also
presumably allege to demonstrate an environment of intimidation,
also does not indicate that Sharma engaged in protected
activity. (ld; l 189); see Landaeta v. N.Y. & Presbyterian
§osp., lnc., 12 Civ. 4462(JMF), 2014 WL 836991, at *8 {S.D.N.Y.
Mar. 4, 2014) (citing Kassman v. KPMG LLP, 925 F. Supp. 2d 453,
473 {S.D.N.Y. 2013) (holding that plaintiff’s FLSA retaliation
claim failed because “[m]ore is needed M such as an allegation
to make an affirmative assertion of rights protected by
the statutes”). Though the AC pleads facts that may have
amounted to a lessethanwcomfortable situation for Sharma, it
does not sufficiently demonstrate that Sharma could prove a

retaliation claim.

17

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 18 of 22

Accordingly, Plaintiffs other than Patel have not
sufficiently pleaded that they engaged in protected activity and
therefore do not state a cause of action pursuant to Section 215
of FLSA.

Regarding Patel, a letter from her former attorney to
Defendants in October 2015 “accusing the company of failing to
pay overtime monies owed to Patel” falls squarely within the
type of activity that Section 215{a) protects. 29 U.S.C.

§ 215(a)(3). Therefore, Plaintiff Patel has plausibly pled this
element in establishing a prima facie case of retaliation.

Patel also clearly suffered an adverse employment action when
Defendants terminated her in September 2016. §ee Belizaire v.
RAV lnvestigative and Sec. Servs. Ltd., 61 F. Supp. 3d 336, 348
{S.D.N.Y. 2014) (citing Caskey v. Cty. of Ontario, 560 F. App’x
57, 58-59 (2d Cir. 2014)) (explaining that termination of
employment constitutes an adverse employment action); (Am.
Compl. l 69.)

Plaintiff Patel, however, has not provided facts sufficient
to establish a plausible causal link between the 0ctober 2015
Letter and her termination in September 2016. “ln order to
establish [a] causal connection, a plaintiff must allege (1)
direct proof of retaliatory animus directed against the
plaintiff; (2) disparate treatment of similarly situated

employees; or {3) that the retaliatory action occurred close in

18

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 19 of 22

time to the protected activities.” McNair v. NYC Health & Hosp.
§g;, 160 F. Supp. 2d 601, 604 (S.D.N.Y. 2001) (citing DeCintio
v. Westchester Cty. Med. Ctr., 821 F.Zd lll, 115 {2d Cir.
1987)).

First, Patel does not proffer any facts demonstrating that
the October 2015 letter from Patel's then-lawyer directly caused
Defendants to terminate her in September 2016, other than
conclusorily stating that this letter motivated Defendants’
overarching concern about overtime liability leading up to
Plaintiffs' dischargeo (Am. Compl. l 190.) The allegations in
the AC do not tangibly connect Patel's letter or, more broadly,
Defendants' alleged overarching concern about overtime wage
liability to which Patel's letter contributed, to Defendants'
decision to terminate Plaintiffs. See Gaughan v. Rubenstein,
261 F. Supp. 3d 390,r 421 (S.D.N.Y. 2017) (holding that absence
of factual underpinnings of alleged causal connection between an
employee's protected activity and adverse action by employer is
inadequate in pleading causation).

Second, Patel does not show disparate treatment of
similarly situated employees here because she was one of six
managers terminated on September 1, 2016, the other five of whom
did not engage in protected activity as she did. §ee Thermidor
v. Beth Israel Med. Ctr., 683 F. Supp. 403, 413~14 (S.D.N.Y.

1988) (finding retaliatory animus where employee was disciplined

19

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 20 of 22

for failing to follow company procedure in certain situation but
other similarly situated employees who acted as plaintiff had in
same situation were not); (Am. Compl. l 69.)

Plaintiffs also do not provide adequate factual support to
Show that the younger replacement supervisors were similarly
situated to Plaintiffs such that Plaintiffs suffered disparate
treatment as to them. See Bio v. Fed. Express Corp., 424 F.3d
593, 597 (7th Cir. 2005) (holding that court should look to
whether employees held same job description, were subject to
same standards, reported to the same supervisor, and had
comparable experience and qualifications in determining whether
employees are comparable). Defendants do not plead facts
sufficient to establish that the younger supervisors hired to
replace them took on only responsibilities that Plaintiffs had
as managers, that they reported to the same personnel, or that
they were held to the same work standards, thus making them
suitable for comparison here.

Finally, the temporal connection between Patel’s October
2015 letter and her termination in September 2016 is far too
attenuated to state plausibly a causal connection. §ee Azeez v.
Ramaiah, No. 14“cv-5623, 2015 WL 1637871, at *8“9 (S.D.N.Y. Apr.
9r 2015) (one year delay between employee's termination and
protected activity is insufficient temporal link to show

causation). lf anything, Defendants' rehiring of Patel after

20

Case 1:16-CV-09109-LAP Document 19 Filed 03/22/18 Page 21 of 22

receiving her October 2015 letter indicates they responded to
the threat of potential overtime wage litigation by keeping
Patel employed, not firing her approximately one year after
receiving it. Absent other facts, the lapse of approximately
one year in this situation is insufficient to establish a causal
link between the October 20l5 Letter and Patel's termination.
See Gorman-Bakos v. Cornell Coop. Extension, 252 F.Bd 545, 554~
55 (2d Cir 2001) (guoting Reed v. A.W. Lawrence & Co., 95 F.3d
1170, 1178 (2d Cir. 1996)) (“In this Circuit, a plaintiff can
indirectly establish a causal connection to support a
discrimination or retaliation claim by ‘showing that the
protected activity was closely followed in time by the adverse
[employment] action’”}. Accordingly, Plaintiff Patel fails to
state a claim of retaliation under the FLSA as well.

in sum, Plaintiffs have failed to meet their burden under
Rule l2(b)(6) of the Federal Rules of Civil Procedure in stating

a claim for retaliatory discharge under 29 U.S.C. § 215(a)(3).

21

Case 1:16-CV-O9109-LAP Document 19 Filed 03/22/18 Page 22 of 22

IV. Conclusion
For the foregoing reasons, Defendants' motion (ECF No. l2)
is GRANTED. Counts IV and V of the Amended Complaint (ECF No.
6) are dismissed with prejudice.
SO ORDERED.

Dated: New York New York

March §§ 2018
lazzara § /%/Ma

LORETTA A. PRESKA
Senior United States District Judge

22

